 

 

pain management. —

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. UNITED STATES DISTRICT COURT
. FOR THE MIDDLE DISTRICT OF PENNSYLVANIA.

"UNITED STATES OF AMERICA = GRIM. NO. 3:CR-16- | 44
ve . a, a 7 (Judge | ) |
_ FUHAILI, |
, Defendant
- FILED
INDICTMENT SCRANTON
| JU, 2

  
 

THE GRAND JURY CHARGES: 4 2016

  

 

Introduction PGR
At times material to this Indictment:

1. The defendant, FUHAI LI (LD, is a medical doctor. LI was a physician
licensed by the Commonwealth of Pennsylvania and held a Pennsylvania medical
license, as wellasa Drug Enforcement Administration (DEA) registration number, .
and operated a practice, Neurology and Pain Management Center, within the Middle
District of Pennsylvania. LI represented himself to be a specialist in neurology and

2. The Controlled Substances ‘Act (the Act) governs the manufacture,
distribution, and dispensing of controlled substances in the United States. Under the
Act, there are five schedules of controlled substances — Schedules I, IL, III, IV, and V.

Controlled substances are scheduled into these levels based upon their potential for

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abuse, among other things. Abuse of Schedule IT controlled substances may lead to.
severe psychological and/or physical dependence.

3. Morphine, a Schedule II controlled substance, is an opioid pain
medication. Opioids are medications that relieve pain. An opioid is sometimes
called a narcotic. Oxycodone is a narcotic analgesic (painkiller) that is similar to
morphine and is classified as a Schedule IJ controlled substance, sometimes
prescribed under the brand name Oxycontin®. Oxycodone, generic for Oxycontin®, |
is used to treat severe pain, and, even if taken only in prescribed amounts, can cause
physical and psychological dependence.

4. | Methadone is a synthetic opioid that contains methadone
hydrochloride, a Schedule II controlled substance. Methadone is roughly twice as
potent as morphine ina single dose, but becomes much more potent than morphine
with accumulation in the body. In chronic users of high-dose opioids, methadone
may be 10 times as potent as the morphine equivalent.

5, | Oxyinorphone, a Schedule II controlled substance, is a powerful
semi-synthetic opioid analgesic (painkiller)... Opana® and Opana ER® are brand
names of the prescription: drug oxymorphone. Opana® and Opana ER® also carry
warnings that use of the drug could lead to addiction, overdose, or death. : As with
other opioids, these drugs are highly addictive.

6. Fentanyl is a Schedule II narcotic (opioid) pain medicine that may
become habit-forming. Fentanyl is 70 -100 times as potent as morphine. A
fentanyl transdermal system (fentanyl patch) contains a high concentration ofthe _

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‘potent Schedule IT opioid agonist, fentanyl. | Schedule II opioid substances which
include fentanyl, hydromorphone: methadone, morphine, oxycodone, and
oxymorphone have the highest potential for abuse and associated risk of fatal
overdose due to réspiratory depression.

7 Title 21, United States Code, Section 841(a) (1), provides that “Lelxcept
as authorized by this subchapter, it shall be unlawful for any person to knowingly or
intentionally ... mantfacture, distribute, or dispense, or possess with intent to
manufacture, distribute or dispense, ‘a controlled substance.” |

8. ‘Title 21, United States Code, Section 802(10), provides that the term
“dispense” means to deliver a controlled substance to an ultimate user or research
subject by, or pursuant to the lawful order of, a practitioner, including the —
prescribing and administering of a controlled substance and the packaging, labeling
or compounding necessary to prepare the substance for delivery.

9. The term “distribute” means to deliver (other than by administering ox
dispensing) a controlled substance or a listed chemical. The term “distributor”
means a person who so delivers a controlled substance or a listed chemical. (21
US.C. § 302(11)).

10. The term “doctor shopping” refers to a practice of a patient requesting . -
care from multiple physicians without niaking efforts to coordinate care or informing
the physicians of the other prescribing physicians in order to divert the drugs to
others or feed their own addiction to certain prescription drugs by faking or
exaggerating the extent of theix true condition, or both. | |

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11. Title 21, United States Code, Section 821, provides that “[t]he Attorney
General of. the United States] is authorized to promulgate rules and regulations
relating to the registration and control of the manufacture, distribution and
dispensing of controlled substances.” |

12. The Attorney General of the United States has exercised his
rulemaking authority regarding the dispensing of controlled substances through the
promulgation of 21 Code of Federal Regulations § 1306.04, governing the issuance of
prescriptions, which provides, among other things, that a prescription for a
controlled substance to be effective must be issued for a legitimate medical purpose
by an individual practitioner acting in the usual course of his professional practice.
Moreover, an order purporting to be a prescription issued not in the usual course of
professional treatment 1s not a preseription within the meaning and intent of section
309 of the Act (21 U.S.C. § 829] and the person knowingly filling such a purported
prescription, as well as the person issuing it, shall be subject to the penalties

provided for violations of the law relating to controlled substances.

“13. The Pennsylvania Code of Professional and Vocational Standards, Title

49, Chapter 16.92, defines the authority of physicians licensed by the Commonwealth
of Pennsylvania to prescribe or dispense controlled substances, Chapter 16.92
provides minimum standards that shall be followed when prescribing or dispensing
controlled substances and include: (a) the taking and recording of an initial medical
history, (b) reevaluations of the condition diagnosed and the controlled substance

involved, (c) patient counseling, and maintenance of patients’ medical records.

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14 Asa medical doctor, LI was authorized to prescribe and/or dispense to
. patients Schedule II controlled substances and to prescribe medicine to patients,
including controlled substances, for legitimate medical purposes and in the usual
course of professional practice. |
| "LPs Illegal Distribution of Conirdlled Substances
‘15. . On or about August 20 10, LI established a medical practice in Milford,
Pike County, Pennsylvania specializing in neurology and pain management.

16. Inorder to earn profits from his medical practice, LI wrote and issued
unlawful prescriptions to patients for drugs containing controlled substances without
a legitimate medical purpose and outside the usual course of professional practice in
exchange fora fee. |

17. Li required an immediate payment of $250 to $350 asa clinic visit fee .
for new patients. Follow-up patient visits ‘occurred monthly. Follow-up patient
visits were cursory 1n nature with little to no medical examination, and almost
always resulted in a prescription for a Schedule IT controlled substance. LI charged
follow-up patients a visitation fee'of $150 to $200. LI preferred cash payments.

. 18: | Contrary to accepted medical practice, LI prescribed controlled
‘substances in high dosage amounts to patients at the first appointment without .
conducting-a meaningful physical examination of such individuals to verify the

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claimed illness or condition, or after conducting only a limited physical examination,

and without reviewing drug screen tests.

 

 
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19. “In some instances, LI issued’ unlawful prescriptions for controlled
substances to patients despite indications that such patients were abusing, misusing,
‘and distributing the controlled substances he prescribed. These indications
included, but were not limited to, the following: self reports of addiction concerns,
cash payments despite access to health insurance, urine screens positive for illicit
street drugs, or negative drug screens which would indicate diversion and patient
- selling of the drugs. | | |

20. | LI’s medical records for patients receiving high doses and quantities of .
controlled substances reflect the performance of examinations that were either not
performed, were unnecessary, or were inconsistent with the nature of the diagnosis -
subsequently offered. In most cases, the performance of the tests led to no change in’
therapy and, thus, no patient benefit, The tests merely created the appearance of
legitimacy. SO CO . : - . -, .

21. LI rarely, if ever, referred patients for outside diagnostic testing or |

. physical therapy as an alternative to taking controlled substances, and failed to

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advise his patients of alternatives to the dangerous,and highly addictive medications
he continuously prescribed. Despite the lack of meaningful sorrelation to an
ultimate diagnosis for any in office tests performed by LI, and despite the |
inconsistent testing and lack of follow-up for the results of the testing each
examination and/or test performed in his office generated substantial proceeds for
‘LI’s medical practice. |

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| 22. LI prescribed excessive amounts of controlled substances to numerous
patients either knowing, or in willful blindness, of the fact that those patients would
subsequently distribute the controlled substances to others. LI intentionally
ignored “red flags” such as “doctor shopping” by patients who traveled unreasonably’
long distances to visit LI, and who Li knew were being treated by other physicians. —
As a result, those patients filled the unlawful prescriptions written by Ll at various
pharmacies, and thereafter distributed the controlled substances obtained from such
pharmacies to other individuals in exchange for money. Those patients used money
obtained from redistributing the controlled substances to pay for additional office
visits and unlawful prescriptions written by LI. | |
93. LI continued to prescribe excessive amounts of controlled substances,
knowing that such practice could result in overdoses, dependence, addiction, and, in
" some cases, death. .

24. It was LI’s practice to choose to begin therapy with the oxycodone 30 mg
tablet in the absence of sufficient documentation. Oxycodone 30 mg tablets is the
maximum dose for the immediate release formula and the most sought after by drug

‘abusers.

25. Despite being notified by multiple area pharmacies that those
pharmaciés would no longer fill prescriptions written by him, LI continued to.
prescribe excessive amounts of controlled substances. . The alarms and “red flags”

noticed and responded to by multiple local pharmacies were ignored by LI.

 
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| 26. - LI distributed and dispensed, and caused to be distributed and
- dispensed, controlled substances that were not prescribed for a legitimate medical
purpose, and not in the usual course of professional practice in one or more of the
following manners:
a.) inadequate verification of the patient’s medical complaint;
b.) cursory or no medical examinations ‘by LI: |
c.) | inadequate patient medical history and no follow-up verification;
d.) | incomplete or inadequate mental or physical examinations;
e.) insufficient dialogue with the patients regarding treatment options and
risks.and benefits of such treatments;
f.) treating patients with highly addictive controlled substances while
failin g to consider other treatment options; -
‘g) failure to refer patients to specialist for treatments;
h.) lack of, or inadequate diagnostic testing; |
i.) increasing the patients’ dosages over time unnecessarily;
j ) prescribing inappropriate combinations of drugs to patients;
> allowing patients to suggest or direct the medications to be prescribed; .
1) treating a large number of patients who resided either out of the state
or long distances from his office with prescriptions for highly addictive controlled
substances; |
m.) directing patients to particular pharmacies that were known to fill the

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prescriptions;

 
  

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n.) prescribing highly addictive controlled substances to patients with
vague physical complaints where alternative treatment options would be indicated;
0.) prescribing the maximum dose immediate release formula (30 mg
' tablets) without a long acting formulation: . oS | I
p.) failing to assess the risk of abuse by individual patients:
qv failing to monitor patients’ responses to the medication: and
r.) issuing prescriptions for highly addictive controlled substances for an
_ inordinately high percentage of younger. adult patients. |
27. - Li obtained substantial income from the illegal distribution of -
controlled substances as described above.
Counts 1 through 15

21 United States Code § 841(a)(1) 7
(Unlawful Distribution and Dispensing of a Controlled Substance)

28. The allegations contained in paragraphs 1 through 27 of this Indictment
are incorporated herein.
| 29. On or about, the dates set forth below, in the Middle District of
Pennsylvania and elsewhere, the defendant, . . a
FUHAI LI,
did knowingly and intentionally distribute and dispense, and caused to be
distributed and dispensed, outside the usual course of professional practice and not
for a legitimate medical purpose, the Schedule II coritrolled substances, as listed

below, each of which constitutes a séparate count of this Indictment:

 
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COUNT | APPROXIMATE PATIENT | CONTROLLED
. | DATES OF - SUBSTANCE
DISTRIBUTION
1 Feb. 9, 2011 through Jan. 27, 2015 L.D. Oxycodone, a/k/a “Oxycontin”
2 | Jan. 9, 2013 through April 4, 2014 R.S. Oxycodone, a/k/a “Oxycontin” _
3. Jan. 10, 2011 through Nov. 28, 2011 J.5. Oxycodone, a/k/a “Oxycontin”:
, Methadone
4 Jan, 31, 2011 through June 20, 2012 J.L.S. Oxycodone, a/k/a “Oxycontin”
Opana
5 March 15, 2011 through Sept. 25, 2012 R.T. Oxycodone, a/k/a “Oxycontin”
Oxymorphone, a/k/a/ “Opana”.
6 March 22, 2012 through Aug. 9, 2012 L.B. Oxycodone, a/k/a “Oxycontin”
7 ‘Jan. 21, 2011 through Jan. 9, 2013 ° T.D. Oxycodone, a/k/a “Oxycontin”
8 | Jan. 27, 2012 through Jan.-15, 2015 J.M.S. Oxycodone, a/k/a “Oxycontin”
* , Oxymorphone, a/k/a “Opana’” .
9 Dec. 9, 2010 through Jan. 14, 2015 N.T. Oxycodone, a/k/a “Oxycontin”
: Methadone, Oxymorphone,
a/k/a “Opana’” .
10 7 Oct. 5, 2011 through Dec. 5, 2012 AA. Oxycodone, a/k/a “Oxycontin”
11 Nov. 1, 2010 through May 10, 2012 M.A. | Oxycodone, a/k/a “Oxycontin”
OS . Methadone
12 Oct. 28, 2010 through Nov. 11, 2011 S.A. Oxycodone, a/k/a “Oxycontin”. ©
13 Jan. 18, 2011 through May 11, 2012 S.R.R. | Oxycodone, a/k/a “Oxycontin”
‘14 ‘Aug. 10, 2011 through Jan. 5, 2015 © ARV. | Oxyeedone, a/k/a “Oxycontin” ‘
15 Jan. 18, 2011 through March 22, 2013 ~ CV. Oxycodone, a/k/a “Oxycontin”

 

 

 

 

In violation of Title 21, United States Code, §§ 841(a)(1), and 841(b)(1)(C).

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THE GRAND JURY FURTHER CHARGES:

Count 16 16

21 United States Code § 841(a)(1)
(Onlawfal Distribution and Dispensing of a Controlled Substance)

| 30.., ‘The allggations contained i 10. paragraphs I through 27 of this Indictment
are incorporated herein.” - | | | | .
st On or- about October, 5, 2011, within the. Middle District of
Pennsylvania, the defendant, . |

did knowingly and intentionally distribute and dispense, and caused t to be

distributed and dispensed, outside the usual course of: professional practice and not

for a legitimate medical purpose, a controlled substance containing oxycodone, a
Schedule II controlled substance; and serious bodily injury. arid death of a person
known to the grand jury resulted from the use of the controlled substance distributed
by the defendant. | re

In violation of Title 21, |, United States Code, §8 841(a)(0) and 841(b)C1N(C).

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Li ' _ Ai . .
THE GRAND JURY FURTHER CHARGES:
. ee Count 17

_21 United States Code § 861(f)
(Unlawful Distribution and Dispensing of a
Controlled Substance toa Pregnant Individual)

32. The allegations contained in paragraphs 1 through 27 of this Indictrhent
are incorporated herein. | | |

33: On or about May 1, 2014, within the Middle District of Pennsylvania,
the defendant, | |

FUHAI LI,

aid knowingly and intentionally distribute and dispense, and caused to be
distributed and dispensed, outside the usual course of professional practice and not
_ for a legitimate medical purpose, a controlled substance containing oxycodone, a
Schedule II controled substance, to a pregnant individual, said acts being proscribed
by 21 U S.C. § 8610 and § 841 (a)(D).

‘In violation of Title 21, United. States Code, § sei and § 841(a)(1),

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. THE GRAND JURY FURTHER CHARGES:
Count 18

21 United States Code § 856(a)(1)
(Maintaining Drug-Involved Premises)

34: The allegations contained in paragraphs 1 through 27 of this Indictment
‘are incorporated herein.

35. From onor about August 2011, and continuing through August 2013, in
the Middle District of Pennsylvania, the defendant,

FUBAI LI,

knowingly and intentionally opened and maintained a place known as the Neurology . :
and Pain Management Center, located at 104 Bennett Avenue, Suite 1B, Milford,
Pike County, Pennsylvania, for the purposes of distributing Schedule II controlled
substances outside the usual course of professional practice and without legitimate

medical purpose.

. . } . .
In violation of Title 21, United States Code, § 856(a)(1).

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_ THE GRAND JURY FURTHER CHARGES:
Count 19

21 United States Code § s56(a)(1)
(Maintaining Drug Involved Premises)

36. ‘The allegations contained in paragraphs 1 through 27 of this Indictment
are incorporated herein.

"87. From on or about August 2013, and continuing through January 2015,
in the Middle District of Pennsylvania, the defendant
knowingly and intentionally, opened and maintained a place known as the Neurology
and Pain Management Center, located at 200 3rd Street, Milford, Pike County, |
Pennsylvania, for the purposes of distributing Schedulé II controlled substances
outside the usual course of professional practice and without legitimate medical
purpose. 7

In violation of Title 21, Unitéd States Code, § 856(a)(1).

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THE GRAND JURY FURTHER CHARGES:

Counts 20 through 21
18 United States Code § 1957
(Engaging in Monetary Transactions in Property
- Derived from Specified Unlawful Activity)
38. The allegations contained in paragraphs 1 through 27 of this Indictment
are incorporated herein.
39. On or about the dates set forth below, in the Middle District of
Pennsylvania and elsewhere, the defendant |
did knowingly engage and attémpt to engage, aided and abetted by others, and did
willfully cause or attempt to cause, a monetary transaction by, through or toa |
financial institution, affecting interstate commerce, in criminally derived property of |
a value greater than $10,000, knowing that such property was derived from a
specified unlawful activity, that is, the knowing and intentional distribution and
possession with intent to distribute and dispense, and aiding and abetting the
distribution and dispensing of, outside the usual course of professional practice and -
not for a legitimate medical purpose, Schedule II controlled substances, in violation
of Title 21, U.S.C. § 841(a)(1).  Fuhai Li engaged in the following financial

transactions, each of which constitutes a separate count of this Indictment:

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t.

 

COUNT |DATE | DESCRIPTION —

 

20 . || Nov. 19, 2012 | LI caused a PNC bank official to wire transfer

| $385,572.05 to Provident Funding to pay the mortgage
balance on his property located at 146 Rising Meadow
Way, East Stroudsburg, PA (f/k/a 15 Rising Meadow Way)

 

 

21: Aug. 29, 2013 | A check in the amount of $158,699.30 (Ref. # 010004

- °° | 002985763697) for the purchase of 200 3rd Street,
Milford, PA, and deposited into a Wells Fargo checking
‘account on August 29, 2013 by Hometown Abstract.

 

 

 

| In violation of 18 United States Code, §§ 1957 and 2.

THE GRAND JURY FURTHER CHARGES:

Counts 22, through 24

- 26 United States Code § 7201
(Tax Evasion) .

40, The allegations contained in paragraphs 1 through 27 of this Indictment
. are incorporated herein. | |
41. ul routinely, accepted cash payments from his patients and did not

deposit the cash into his bank- accounts. Rather, ul stored the cash in his
residences.

42. In January 2015, agents from the- Drug Enforcement Administration
(DEA) executed search warrants at LI’s residences and seized 1 in excess of $1,000,000

‘ in.cash.

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"43. -

and evade income taxes that were due and owing the United States, LI kept two sets

of books and records recording the receipts from his medical practice.

~ the cash payments, the other did not.

LI failed to tell the accountant who prepared those returns that he accepted. .,
substantial amounts of cash from his patients and only gave him the set of books:and
records that did not include the cash 1 payments.

xetums being filed in 2011, 2012, and 20 13, which substantially underreported LY: s

income and the tax due. and owing for each year.

44, .

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years 2011, 2012, ‘and 2013 as follows’:

t.

. ‘Corrected:

 

Total. + :
‘ Income Unreported Taxable
Year Per Return Income _Income
2011 $614,513 $226,363.77 $840,877 _
2012 $542,566 $340,847.57 $883,414

2013 | $534,331 $265,769.11 $803,343.

177

Total ~

Corrected. .
Tax Liability - Return

$264,162

$278,310.
$265,744

Tax Per

$184,836
$164,231

‘$158,471.

Total

In order to conceal the cash from the Internal Revenue Service (IRS)

One included

wt

LI attempted to evade or defeat a tax or the payment thereof for the

‘Tax Due

and Owing
$ 79,326
$114,079
$ 107,273

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Prior to filing his federal income tax returns,

This resulted in false i income tax

$300,678 .

 
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Count 22
"96 United States Code § 7201
(Tax Evasion)

45. . On or about March 15, 2012, in the Middle District of Pennsylvania, the |

defendant, | -
| FUHAIL,

did willfully attempt to evade and defeat a large part of the tax due and owing by him
to the United States of America for the calendar year 201 1, by preparing and causing
to be prepared, and by signing and causing to be signed, a false and fraudulent Form
1040, Federal Income Tax Return for the.calendar year 2011 which was filed with the
Internal Revenue Service. In that return, the defendant substantially and -
materially understated his taxable income for 2011. The defendant’s actions
resulted in the underpayment of his individual income tax hability totaling
approximately $79,326 for the calendar year 2011. ”

In violation of Title 26, United States Code, Section 7201.

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_the defendant,

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Count 23

26 United States Code § 7201
. (Tax Evasion)

46. On or about February 18, 2012, in the Middle District of Pennsylvania,

-FUHAI LL

did willfully attempt to evade and defeat.a large part of the tax due.and owing by him

to the United States of America for the calendar year 2012, by preparing and causing

to be prepared, and by signing and causing to be signed, a false and fraudulent Form

1040, Federal Income Tax Return for the calendar year 2012 which waé filed with the
‘Internal Revenue Service. Jn that return, the defendant substantially and

‘materially understated his taxable income for 2012. The defendant’s actions

resulted in the underpayment of his individual income tax lability totaling

approximately $114,079 for the calendar year 2012. |

In violation of Title 26, United States Code, Section 7201.

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Count 24

26 United States Code § 7201
(Tax Evasion)

47. On or about March 2, 2014, in the Middle District of Pennsylvania, the
defendant, |
FUHAI LI,

did willfully attempt to evade and defeat a large part of the tax due and owing by him
to the United States of America for the calendar year 2013, by preparing and causing
to be prepared, and by signing and causing to be signed, a false and fraudulent Form
_ 1040, Federal Income Tax Return for the calendar year 2013 which was filed with the
Internal Revenue Service. In that return, the defendant substantially and
materially understated his taxable income for 2013. The defendant’s actions
resulted in the underpayment of his individual income tax liability totaling
approximately $107,273 for the calendar year 2013.

In violation of Title 26, United States Code, Section 7201.

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FORFEITURE ALLEGATION

THE GRAND JURY FURTHER CHARGES AND FINDS PROBABLE CAUSE:

48. The allegations contained in paragraphs 1 through 47 of this. -
- Indictment are hereby realleged and incorporated by reference for the purpose of
alleging forfeitures pursuant to Title 21, United States Code, Section 853 and Title
18, United States Code, Section 982(a)(1). .

49. Pursuant to Title 21, United States Code, Section 853 and Title 18,
United States Code, Section 982(a)(1), upon ‘conviction of an offense in violation of
‘Title 21, United States Code, Sections 841 and/or 856 and Title 18, United States
Code, Section 1957 , the defendant, FUHIA LI, shall forfeit to the United States of
America any property constituting, or derived from, any proceeds obtained, directly
or indirectly, as the result of such offenses and any property used, or intended to be
used, in any manner or part, to commit, or to facilitate the commission of, the
offenses. | |
, The property to be forfeited includes, but is not limited to, the following:

a. United States currency in the amount of approximately $930,300.00,
seized from 4005 Milford Landing Drive, Milford, Pennsylvania;

b. United States currency in the amount of approximately $100,660.00,
seized from 146 Rising Meadow Way (ffk/a 15 Rising Meadow Way), East

Stroudsburg, Pennsylvania;

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c. United States currency in the amount of approximately $916,124.90,
seized from PNC Bank, account number xxxxxx2719 in the name of Hong Hu and
Fuhai Li;

d. United States currency in the amount of approximately $2 1,283.71,
seized from PNC Bank, account number xxxxx3267, in the name of Hong Hu and
Fuhai Li: |

e. United States currency in the amount of approximately $4,786.04,
seized from PNC Bank, account number XXXXKXY 131, in the name of Neurology and
| Pain Management Center, PC;

f. United States currency in the amount of approximately $25,511.63,
seized from PNC Bank, account number HXXXXX3457, inthe name of Neurology and
Pain Management Center, PC;

g. - United States currency in the amount of approximately $37,366.73,
seized from PNC Bank, account number Xxxxxx3909, in the name of a juvenile with
Hong Hu as custodian;

. h. United States currency in the amount of approximately; $68,37 3.08,
seized from Wells Fargo Bank, account number xxxxxx4252, in the name of Hong Hu
and Fuhai Li

1. Real property located at 200 3rd Street, Milford, Pike County,
Pennsylvania; |

j. Real property located at 4005 Milford Landing Drive, Milford, Pike

County, Pennsylvania;

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ke. : Real property located at 146 Rising Meadow Way (fica 15 Rising
Meadow Way), Kast Stroudsburg, Monroe ‘County, Pennsylvania: _ a
and all interest and proceeds traceable thereto, in that such sum in the
aggregate is property which was involved in 1 the aforestated offenses and i is traceable
| tos such property i in violation of Title 21, United States Code, Sections 841(a) and 856.
50. Tf any of the property described above, : asa result of any act or omission
of the defendant: |
_ a. , cannot be located upon the exercise of due diligence;
b. - has been transferred or sold to, or deposited with, a third party;
Ge has been placed beyond the jurisdiction of the court: .
da. has been substantially diminished in value; or
e. - has been commingled with other property which cannot be
divided without difficulty, - 6 |
the United States of America shall be entitled to forfeiture of substitute property
pursuant to Title 21, United States Code, Section 853(p).

ATRUEBILL

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” PETER J. SMITH _
UNITED STATES ATTORNEY

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